                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                               WESTERN DIVISION

UNITED STATES OF AMERICA,
                Plaintiff,                               No. 09-CR-4045-DEO
vs.                                         ORDER
                                    ACCEPTING REPORT AND
GARY WAYNE WISEMAN, JR.,
                                 RECOMMENDATION CONCERNING
         Defendant.                      GUILTY PLEA
                    ____________________

                       I.     INTRODUCTION AND BACKGROUND

      On    March       25,    2010,    a     one       count     Second      Superseding

Indictment           (Docket    No.    210)    was       returned       in    the   above-

referenced case.

      Count 1 of the Second Superseding Indictment charges that

beginning about January 2007, and continuing through August

2009,      in    the    Northern       District         of     Iowa    and     elsewhere,

defendant Gary Wayne Wiseman, Jr., and other named defendants,

did knowingly and unlawfully combine, conspire, confederate,

and agree with each other and with other persons, and known

and unknown to the Grand Jury,

      1.        to manufacture 500 grams or more of a mixture or

                substance       containing          a      detectable         amount        of

                methamphetamine, a Schedule II controlled substance,

                or     50      grams     or         more        of     actual       (pure)



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          methamphetamine, a Schedule II controlled substance,

          in   violation       of    Title       21,     United     States     Code,

          Sections 841(a)(1), 841(b)(1)(A), and;

    2.    to manufacture 50 grams or more of a mixture or

          substance     containing           a     detectable           amount        of

          methamphetamine, a Schedule II controlled substance,

          or 5 grams or more of actual (pure) methamphetamine,

          a Schedule II controlled substance, in violation of

          Title 21, United States Code, Sections 841(a)(1) and

          841(b)(1)(B), and

    This was in violation of Title 21, United States Code,

Section 846.

    On April 2, 2010, defendant Gary Wayne Wiseman, Jr.,

appeared before Chief United States Magistrate Judge Paul A.

Zoss and entered a plea of guilty to Count 1 of the Second

Superseding Indictment.             In the Report and Recommendation

(Docket No. 268, 04/02/2010), Chief United States Magistrate

Judge Paul A. Zoss recommends that defendant Gary Wayne

Wiseman, Jr.’s guilty plea be accepted.                        No objections to

Judge Zoss’s Report and Recommendation were filed. The Court,




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therefore, undertakes the necessary review to accept defendant

Gary Wayne Wiseman Jr.’s plea in this case.

                               II.   ANALYSIS

                      A.   Standard of Review

    Pursuant to statue, this Court’s standard of review for

a magistrate judge’s Report and Recommendation is as follows:

          A judge of the court shall make a de novo
          determination of those portions of the
          report or specified proposed findings or
          recommendations to which objection is made.
          A judge of the court may accept, reject, or
          modify, in whole or in part, the findings
          or recommendations made by the magistrate
          [judge].

28 U.S.C. § 636(b)(1).           Similarly, Federal Rule of Civil

Procedure 72(b) provides for review of a magistrate judge’s

Report and Recommendation on dispositive motions and prisoner

petitions, where objections are made as follows:

          The district judge to whom the case is
          assigned shall make a de novo determination
          upon the record, or after additional
          evidence, of any portion of the magistrate
          judge’s disposition to which specific
          written   objection   has   been   made  in
          accordance with this rule.     The district
          judge may accept, reject, or modify the
          recommendation decision, receive further
          evidence, or recommit the matter to the
          magistrate judge with instructions.

FED. R. CIV. P. 72(b).

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    In this case, no objections have been filed, and it

appears to the Court upon review of Chief Magistrate Judge

Zoss’s findings and conclusions that there are no grounds to

reject or modify them.

    IT IS THEREFORE HEREBY ORDERED that this Court accepts

Chief   Magistrate    Judge    Zoss’s   Report     and   Recommendation

(Docket No. 268), and accepts defendant Gary Wayne Wiseman

Jr.’s plea of guilty in this case to Count 1 of the Second

Superseding Indictment filed on March 25, 2010 (Docket No.

210).

    IT IS SO ORDERED this 2nd day of June, 2010.


                                 __________________________________
                                 Donald E. O’Brien, Senior Judge
                                 United States District Court
                                 Northern District of Iowa




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